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F’LED BY LL i‘.'.._ Dc
IN THE UNITED STATES DISTRICT COURT ‘
FOR THE WESTERN DISTRICT OF TENNESSEE 05 SEP "2 PH 5, 26

WESTERN DIVISION

 

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UNITED STATES OF AMERICA
Plaintiff,
vs. cR. No. 05-20066-D{'05-20071-D
05-20075-D; 05_20076»D
RITA WILLIAMSON 05-20077-D
Defendant.

v-...-\-._'-._¢~...,~._,-._,-._,uu

 

oRDER oN cHANGE oF PLEA
AND SETTING

 

This cause came to be heard on September 2, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Rita Williamson, appearing in person and with
counsel, Edwin A. Perryr who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 1 of the Indictment

05~20066, Count 1 of the Indictrnent 05-20075, and Count 1 of the Indictment
05-20076.

Remaining Counts in Indictments 05-20066, 05-200'71, 05-20075, 05~
20076, and 05-20077 shall be dismissed at the Sentencing Hearing.

Plea colloquy Was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for FRIDAY, JANUARY 27, 2006, at
1:30 P.M., in Courtromn No. 3, on the 9"h floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the 254 day of September, 2005.

 

UNITED STATES DISTRIC'I‘ JUDGE

This document entered on the docket sheet in compliance
with Rula 55 and/or 32(|:)) FRCrP on ’

 

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EdWin A. Perry

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Honcrable Bernice Donald
US DISTRICT COURT

